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EXHIBIT 1
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STATE OF NEVADA

ROSS MILLER
Secretary of State

SCOTT W. ANDERSON

Deputy Secretary
Jor Commercial Recordings

OFFICE OF THE

SECRETARY OF STATE
Copy Request
March 8, 2007

Job Number: C20070308-0675
Reference Number: 00001244247-44
Expedite:
Through Date:
Document Number(s) _—_‘ Description Number of Pages
LLC28416-2004-001 Articles of Organization 2 Pages/1 Copies
20050073365-51 Initial List 1 Pages/1] Copies
20050522356-70 Annual List 1 Pages/1 Copies
2006005 3320-21 Amended List 1 Pages/1 Copies
20060703757-87 Annual List 1 Pages/1 Copies

Respectfully,

¢ _ Ww Bex.

ROSS MILLER

Secretary of State

Commercial Recording Division
202 N. Carson Street
Carson City, Nevada 89701-4069
Telephone (775) 684-5708
Fax (775) 684-7138
Case 06-10725-gwz Doc 3075-1 Entered 03/13/07 17:10:08 Page 3 of 4
DEAN HELLER
Secretary of State
206 North Carson Street
Carson City, Nevada 49701-4299 Lie KA
(778) 684 5708 FILED # QSL: &00
Website: secretaryofstate.biz
. . . DEC 0 8 2004
Articles Of Organization aageeys
Limited-Liability Company enn sesh Be teeta OF STATE
(PURSUANT TO NRS 86)
LV T
important: Read atlached instructions before completing farm. ABOVE SPACE IS POR OFFICE USE ONLY

4. Name of Lémitec- poms Lae samen eee sents cna ee leet me sees wee - - ane ow Te tte ate or anecem teers a eS caimr anemate aa
Liability Company |!{TANAMERA CORPORATE CENTERLLC cee ew eeneey pee ee nena
Name and Street | Ne ae
Address; 14785 CAUGHLIN PARKWAY, SUITE A URENO 3 NEVADA‘89509 . 7]
toustbe eDawmda aco. | Physical Street Address es ve Shy “Zip Code
whofe oroceas taey be wee . : we Lee ees ce gee nites mg femme ne ote sem cam
Sete, | B ni i I

Additional Mailing Address City “Stee «ss ZipCode

3 (GPTIONAL-tce Latest date upon which the company |s to dissolve (if existence is not perpetual):

4, Management. Company shall be managed by ix] Manager(s) OR C] Members
(beak oni.

5. Names Addresses, | THOMAS A.HANTGES BO Oo
ofManager(s)or =| Nome bee ee paeeims meet p pn nents me
Members: 4484 SOUTH PECOS ROAD LASVEGAS UNV legit!

AuoeS Ax NEARLY. Address _ Cily State aip Code
JOSEPH D, MILANOWSKI ed
Name . . me renee _ seme mee
4484 SOUTH PECOS ROAD MLASVEGAS NV 189121 |
Address City State Zip Code a
KREG D, ROWE / CO
Neme . . . . woe _ ~ — ae as
9460 DOUBLE R BOULEVARD, SUITE 200 uRENO NV jiB9521
Address City State Zip Code

5. Names, Addresses | GREG L. GOUGH , oo |
and Signatures of | same : Hh al
Organizers Signature £
(mare nen ya r a 7 7 .
arodney 4755 CAUGHLIN PARKWAY, SUITE A ‘RENO \Uy 89509}
mscnaddinnnaeds! | Address City State Zip Code.

- nM

7. Eotutieate of ‘hereby a appointment gS Residegt Agant for tha above named limited-liability company. s
Asceptence of S
Appointment ot eT 4 :
Resident Agent: Authorized Signatuta of R, In Behall of R.A. Company Date U /30 h4 “

7 eS

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This fonn must be accompanisd by appropriata fees. See attached fee schedule. = z
Navads Secretary of Bone of. 2009

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Case 06-10725-gwz Doc 3075-1 Entered 03/13/07 17:10:08 Page 4 of 4

i a | cena

5. Names, Addresses of Manager(s) or Members
MICHAEL D. EFSTRATIS
9460 DOUBLE R BOULEVARD, SUITE 200
RENO, NV 89521

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